 Case 3:09-cv-01896-JM-MSB Document 183 Filed 10/20/20 PageID.5478 Page 1 of 1




                         United States District Court
                           SOUTHERN DISTRICT OF CALIFORNIA


Christopher Jones
                                                           Civil Action No. 09-cv-01896-JM-MSB

                                             Plaintiff,
                                      V.
Matthew Cate, Secretary                                      JUDGMENT IN A CIVIL CASE


                                           Defendant.


Decision by Court. This action came to trial or hearing before the Court. The issues have been tried
or heard and a decision has been rendered.

IT IS HEREBY ORDERED AND ADJUDGED:
The Amended Petition for Writ of Habeas Corpus is Denied as to Claim Two and Granted as to Claim
One.




Date:         10/20/20                                        CLERK OF COURT
                                                              JOHN MORRILL, Clerk of Court
                                                              By: s/ S. Tweedle
                                                                                   S. Tweedle, Deputy
